
668 N.W.2d 424 (2003)
In re Petition for DISCIPLINARY ACTION AGAINST James J. BOYD, a Minnesota Attorney, Registration No. 1039x.
No. A03-676.
Supreme Court of Minnesota.
September 5, 2003.

ORDER
On July 16, 2003, this court suspended respondent James J. Boyd from the practice of law for a period of six months with all but 30 days stayed. The order provided for reinstatement by affidavit under Rule 18(f), Rules on Lawyers Professional Responsibility.
The Director of the Office of Lawyers Professional Responsibility has filed with *425 this court an affidavit certifying that respondent has filed an affidavit of compliance indicating that respondent has complied with the suspension order, that respondent is current with continuing legal education requirements, and that the Director does not object to reinstatement.
Based upon all the files, records and proceedings herein,
IT IS HEREBY ORDERED that respondent James J. Boyd is reinstated to the practice of law in the State of Minnesota effective immediately and is placed on probation subject to the terms and conditions set forth in the July 16, 2003, order.
BY THE COURT:
/s/ Paul H. Anderson Associate Justice
